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                               UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


COMMODITY FUTURES TRADING COMMISSION,

                     Plaintiff,

v.                                                     Case No. 6:20-cv-1657-CEM-RMN

HIGHRISE ADVANTAGE, LLC, BULL RUN
ADVANTAGE, LLC, GREEN KNIGHT
INVESTMENTS, LLC, KING ROYALTY LLC, SR&B
INVESTMENT ENTERPRISES, INC., AVINASH
SINGH, RANDY ROSSEAU, DANIEL COLOGERO,
HEMRAJ SINGH and SURUJPAUL SAHDEO,

                     Defendants.

 UNITED STATES     David A. Baker                       COURTROOM:           VIA ZOOM
 MAGISTRATE JUDGE:
 DEPUTY CLERK:     Julie Reyes                          COUNSEL FOR          Elizabeth Marie Streit
                                                        PLAINTIFF:           Susan Padove

 AUDIO RECORDING:          Zoom                         COUNSEL FOR          Jeffery Garber
                                                        DEFENDANT:           Douglas D. Marks
 DATE/TIME:                March 16, 2023
                                                                             Matthew Muller
                           10:01 A.M.-10:13 A.M.
                                                                             Clifford Geismar
 TOTAL TIME:                12 MINUTES

                                     CLERK’S MINUTES
                               ORDER TO SHOW CAUSE (Doc.154) &
                                MOTION TO WITHDRAW (Doc. 151)

Case called, appearances made, procedural setting by the Court.
Hearing proceeds on the above referenced motion as stated on the record.
Motion for Jeffrey M. Garber, Esq to Withdraw as Attorney and Request for Status Conference (doc. 151) is
GRANTED.
Order on motion to enter.
Court adjourned.
